1    Adam B. Nach – 013622
2    Jonathan C. Simon- 029750
     LANE & NACH, P.C.
3    2001 E. Campbell Ave., Suite 103
     Phoenix, AZ 85016
4    Telephone No.: (602) 258-6000
     Facsimile No.: (602) 258-6003
5    Email: adam.nach@lane-nach.com
     Email: jonathan.simon@lane-nach.com
6
     Attorneys for David A. Birdsell, Trustee
7
                             IN THE UNITED STATES BANKRUPTCY COURT
8
                                      FOR THE DISTRICT OF ARIZONA
9
     In re:                                              (Chapter 7 Case)
10
     LINDSEY HARDISON aka LINDSEY                        No. 2:14-bk-01152-EPB
11   KILPATRICK aka LINDSEY HARDISON
     KILPATRICK,                                         NOTICE OF TRUSTEE’S MOTION TO
12                                                       COMPEL DEBTOR TO TURNOVER
                                                         ESTATE PROPERTY AND
13                      Debtors.                         CERTIFICATE OF SERVICE

14
     TO: DEBTOR AND HER ATTORNEY
15
             PLEASE TAKE NOTICE that David A. Birdsell, Trustee has filed a Motion to Compel Debtor
16   to Turnover Estate Property, a copy of which accompanies this Notice. The Motion seeks an Order
     compelling you to turnover to the Trustee the aggregate value of your 2013 tax refund and 2014 tax
17   refunds in the amount of $3,003.58 within fourteen (14) days of the date of the Order approving the
     Motion.
18
             You should read these papers carefully and discuss them with your attorney, if you have one. If
19   you do not want the Court to grant Trustee’s Motion, then on or before twenty one (21) days from the date
     of this Notice, you or your lawyer must file a written response, explaining your position with the Clerk of
20   the United States Bankruptcy Court, as follows: (a) mail or hand-delivery to 230 North First Avenue,
     Suite 101, Phoenix, AZ 85003-1706; or (b) electronically at the Court’s website: ecf.azb.uscourts.gov
21   using the Court’s electronic filing procedures. If you mail your response to the Court for filing, you must
     mail it early enough so that the Court will receive it on or before the date stated above. You must also
22
     mail a copy to the Trustee's attorney, Lane & Nach, P.C., Attn: Joel F. Newell, 2001 E. Campbell Ave.,
23   Suite 103, Phoenix, AZ 85016.

24         If you or your attorney do not take these steps, the Court may enter its Order granting Trustee’s
      Motion, without further notice.
25
     DATED: August 14, 2015                        LANE & NACH, P.C.
26
27                                                 By       /s/ JCS-029750
                                                           Adam B. Nach
28                                                         Jonathan C. Simon
                                                           Attorneys for Trustee

 Case 2:14-bk-01152-EPB            Doc 31 Filed 08/14/15 Entered 08/14/15 15:58:08               Desc
                                    Main Document    Page 1 of 2
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 2

 3   I hereby certify that a copy of the foregoing was
     mailed by 1st class mail, postage prepaid as follows:
 4
     Lindsey Hardison
 5   1319 E. Halifax
     Mesa, AZ 85203
 6
     delivered via electronic notification :
 7
     Adam E. Hauf
 8   Hauf Law, PLLC
     4225 W. Glendale Ave., Suite A-104
 9   Phoenix, AZ 85051
     Email: adam@hauflaw.com
10   Attorney for Debtor
11   Office of U.S. Trustee
     230 North First Avenue
12   Phoenix, AZ 85003
     Email: Larry.Watson@usdoj.gov
13
     By/s/ Stephanie Anderson
14

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 Case 2:14-bk-01152-EPB            Doc 31 Filed 08/14/15 Entered 08/14/15 15:58:08   Desc
                                    Main Document    Page 2 of 2
